B6J (Official Form 6J) (12/07)

          Kent I. McClure
 In re    Dorothy K. McClure                                                                  Case No.    2:09-bk-12971
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S) -
                                  AMENDED
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                        $                1,500.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                           $                  400.00
                   b. Water and sewer                                                                        $                  200.00
                   c. Telephone                                                                              $                   80.00
                   d. Other Gas                                                                              $                   70.00
3. Home maintenance (repairs and upkeep)                                                                     $                  100.00
4. Food                                                                                                      $                  800.00
5. Clothing                                                                                                  $                  250.00
6. Laundry and dry cleaning                                                                                  $                  100.00
7. Medical and dental expenses                                                                               $                  450.00
8. Transportation (not including car payments)                                                               $                  300.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                          $                   25.00
10. Charitable contributions                                                                                 $                  370.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                $                    0.00
                   b. Life                                                                                   $                  101.00
                   c. Health                                                                                 $                1,000.00
                   d. Auto                                                                                   $                  600.00
                   e. Other                                                                                  $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                   $                    0.00
                   b. Other Mortgage Payment on Thatcher Property                                            $                1,141.00
                   c. Other                                                                                  $                    0.00
14. Alimony, maintenance, and support paid to others                                                         $                    0.00
15. Payments for support of additional dependents not living at your home                                    $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)             $                    0.00
17. Other                                                                                                    $                    0.00
    Other                                                                                                    $                    0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                     $                7,487.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                         $                8,968.04
b. Average monthly expenses from Line 18 above                                                               $                7,487.00
c. Monthly net income (a. minus b.)                                                                          $                1,481.04




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          Kent I. McClure
 In re    Dorothy K. McClure                                                                  Case No.     2:09-bk-12971
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S) -
                                  AMENDED

                                                       (Spouse's Schedule)


1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 0.00
 a. Are real estate taxes included?                             Yes               No X
 b. Is property insurance included?                             Yes               No X
2. Utilities:      a. Electricity and heating fuel                                                          $                 0.00
                   b. Water and sewer                                                                       $                 0.00
                   c. Telephone                                                                             $                 0.00
                   d. Other                                                                                 $                 0.00
3. Home maintenance (repairs and upkeep)                                                                    $                 0.00
4. Food                                                                                                     $                 0.00
5. Clothing                                                                                                 $                 0.00
6. Laundry and dry cleaning                                                                                 $                 0.00
7. Medical and dental expenses                                                                              $                 0.00
8. Transportation (not including car payments)                                                              $                 0.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                 0.00
10. Charitable contributions                                                                                $                 0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                 0.00
                   b. Life                                                                                  $                 0.00
                   c. Health                                                                                $                 0.00
                   d. Auto                                                                                  $                 0.00
                   e. Other                                                                                 $                 0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                  $                 0.00
13. Installment payments: (In chapter 12 and 13 cases, do not list payments to be included in the plan.)
                   a. Auto                                                                                  $                 0.00
                   b. Other                                                                                 $                 0.00
                   c. Other                                                                                 $                 0.00
14. Alimony, maintenance, and support paid to others                                                        $                 0.00
15. Payments for support of additional dependents not living at your home                                   $                 0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                 0.00
17. Other                                                                                                   $                 0.00
    Other                                                                                                   $                 0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 0.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures anticipated to occur within the year following the
filing of this document:




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